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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

                              Case No. 16-80096-Civ-Middlebrooks/Brannon

  SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,

  vs.

  NICHOLAS TOMS,

          Defendant.

                                                                   /

               DECLARATION OF JOHN J. GRAUBARD IN SUPPORT OF
         MOTION OF PLAINTIFF SECURITIES AND EXCHANGE COMMISSION
          FOR ORDER TO SHOW CAUSE WHY DEFENDANT NICHOLAS TOMS
                 SHOULD NOT BE HELD IN CONTEMPT OF COURT
        FOR FAILURE TO PAY DISGORGEMENT AND PREJUDGMENT INTEREST

          JOHN J. GRAUBARD declares under penalty of perjury pursuant to 28 U.S.C. § 1746:

          1.       I am a Senior Trial Counsel employed by the Plaintiff Securities and Exchange

  Commission (the “Commission”). I am authorized to appear in this Court. I am over 18 years old

  and I believe in the obligations of an oath.

          2.       I am personally familiar with the facts set forth herein.

          3.       I am making this Declaration in support of the Motion of the Commission for an

  Order to Show Cause why the Defendant Nicholas Toms (“Toms”) should not be held in contempt

  of Court for his failure to pay disgorgement and prejudgment interest.

  A.      The Entry of the Final Judgment against Toms

          4.       On February 11, 2015 the Commission, deeming it appropriate, instituted cease-and-

  desist proceedings against Toms pursuant to Section 21C of the Exchange Act, 15 U.S.C. § 78u-3,

  based on allegations by the Commission’s Division of Enforcement that Toms had violated
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  provisions of the federal securities laws. In the Matter of Nicholas Toms, Securities Exchange Act

  Release No. 74261, Admin. Proc. File No. 3-16384 (February 11, 2015).

          5.      Toms submitted an Offer of Settlement of the cease-and-desist proceeding, and the

  Commission determined to accept Toms’ Offer of Settlement and entered an Order Making

  Findings and Imposing a Cease-and-Desist Order Pursuant to Section 21C of the Securities

  Exchange Act of 1934. In the Matter of Nicholas Toms, Securities Exchange Act of 1934 Release No.

  76194, Admin. Proc. File No. 3-16384 (October 19, 2015) (the “Commission Order”).

          6.      Based upon Toms’ Offer of Settlement, in which he neither admitted nor denied the

  findings in the Commission Order, the Commission found that Toms, while the Chairman, chief

  executive officer, and president of DecisionPoint Systems, Inc. (“DecisionPoint”), a public

  company, owned and sold millions of shares of DecisionPoint’s stock through a nominee and

  concealed it from investors. Specifically, from November 2009 through at least mid-2004, Toms

  beneficially owned and sold more than 2.3 million shares of DecisionPoint’s stock, using his long-

  time secretary as a nominee on an account that Toms controlled. Toms concealed his true stock

  ownership and sales from the company, which consequently made materially false filings with the

  Commission. Finally, Toms defrauded investors through these false filings, which materially

  understated Toms’ ownership of DecisionPoint’s stock and which led investors to believe that Toms

  was increasing this stock position when, in fact, Toms, the company’s top officer, was selling

  substantial amounts of the company’s stock.

          7.      The Commission Order found that by such conduct Toms had violated, and had

  caused DecisionPoint’s violation of, Section 10(b) of the Exchange Act, 15 U.S.C. § 77j(b), and Rule

  10b-5 thereunder, 17 C.F.R. § 240.10b-5, which make it unlawful for any person, directly or

  indirectly, to employ any device, scheme, or artifice to defraud, to make any untrue statement of a

  material fact or to omit to state a material fact necessary in order to make the statements made, in


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  light of the circumstances under which they were made, not misleading, or to engage in any act,

  practice, or course of business which operates or would operate as a fraud or deceit upon any

  person, in connection with the purchase or sale of any security.

         8.      Based upon the finding that Toms’ conduct had violated Section 10(b) of the

  Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 thereunder, 17 C.F.R. § 240.10b-5, the

  Commission Order:

              a. Pursuant to Section 21C of the Exchange Act, 15 U.S.C. § 78u-3, ordered that Toms

                 cease and desist from committing or causing any violations and any future violations

                 of Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 thereunder,

                 17 C.F.R. § 240.10b-5;

              b. Pursuant to Section 21C(f) of the Exchange Act, 15 U.S.C. § 78u-3(f), prohibited

                 Toms, for five years following the date of the Commission Order, from acting as an

                 officer or director of any issuer that has a class of securities registered pursuant to

                 Section 12 of the Exchange Act, 15 U.S.C. § 78l, or that is required to file reports

                 pursuant to Section 15(d) of the Exchange Act, 15 U.S.C. § 78o(d);

              c. Ordered Toms, within 10 days of the Commission Order, to pay disgorgement of

                 $85,918, which represents profits gained as a result of Toms’ conduct described in

                 the Commission Order, and prejudgment interest of $16,953.40; and

              d. Ordered Toms, within 10 days of the Commission Order, to pay a civil money

                 penalty of $175,000.

         9.      Toms did not pay the full amount required by the Commission Order. On January

  21, 2016 Toms paid a total of $39,549.32 credited against the amount of disgorgement and

  prejudgment interest he then owed. The Commission then brought an action in this Court to

  enforce the Commission Order, and on April 29, 2016 this Court entered, on Toms’ consent, a Final


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  Judgment Compelling Toms to Comply with Commission Order and directing him to pay

  disgorgement and prejudgment interest of $64,489.79 (DN 25) (the “Final Judgment”). The Final

  Judgment specifically provides that if Toms failed to make payment by May 2, 2016 the Commission

  could enforce the Final Judgment as to disgorgement and prejudgment interest by moving for civil

  contempt, and/or by other collection procedures authorized by law.

  B.     Toms Fails to Pay Disgorgement and Prejudgment Interest as Ordered

         10.     Toms has not made any payment with respect to the amounts due for disgorgement

  and prejudgment interest under the Final Judgment.

         11.     By the terms of the Final Judgment, Toms’ payment was due on May 2, 2016.

         12.     On May 6, 2016, I sent a letter to Toms enclosing a copy of the Final Judgment and

  stating that “As you may not have received notice of the Final Judgment, please make your payment

  by May 20, 2016.” I further stated “If payment is not received by May 20, the Commission will take

  appropriate action to enforce the Final Judgment.”

         13.     Toms has repeatedly stated that he intended to pay the amounts due under the Final

  Judgment by refinancing his property. However, Toms then claimed that for various reasons the

  refinance did not occur. This is shown by the following e-mails from Toms or his counsel:

                 a.     March 28, 2016 from Toms (Exhibit 1, including the attached commitment

                        letter) - “Attached please find the draft commitment from Kennedy Funding

                        which we are updating and re-executing later today.”

                 b.     March 29, 2016 from Toms (Exhibit 2) - “Attached please find the executed

                        commitment letter for the mortgage from Kennedy Funding. You will see

                        that I have requested a closing on or before April 19, 2016. With this in

                        hand, could you defer the action pending payment in full of the settlement

                        per our earlier discussion.”


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              c.   June 7, 2016 from Toms (Exhibit 3) - “Thank you for your time and

                   forbearance this morning. I confirm that I will call you on the morning of

                   June 14 with an update on the mortgage application.”

              d.   June 23, 2016 from Toms (Exhibit 4) - “We haven’t quite closed but almost

                   there.”

              e.   June 27, 2016 from Toms (Exhibit 5) - “We are waiting for one item to close

                   and pay the SEC off in full. It is an approval from the Home Owners'

                   Association, which had a couple of comments and which we have addressed.

                   They have promised us their consent for tomorrow. That being the case, we

                   will notify the lender that we are ready to close and they will fund in 48hours.

                   Could I prevail upon you and your supervisor to hold off on the filing until

                   Friday, by which time you should have been paid off in full?”

              f.   July 5, 2016 from Toms (Exhibit 6) - “I am writing to update you. We are

                   almost closed but may not make it today. If not I may need your indulgence

                   for a further 48 hour extension somehow the lien search is probably not

                   ready for another day. I do apologize but I will fiund [sic] the SEC

                   electronically.”

              g.   July 7, 2016 from Toms (Exhibit 7) - We are still waiting for the municipal

                   lien search to come back, as you will see from my attorney's e-mail below.

                   That is the last remaining to close on the mortgage. He was expecting at the

                   beginning of this week and now thinks we could have it later today or

                   tomorrow. He is doing everything he can to get the report back asap. I am

                   sorry to have to ask this like a broken record, but could I request your and




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                   your supervisor's forbearance for five more days as we are so close to

                   completion and the funds to pay off the SEC?”

              h.   July 11, 2016 from Toms (Exhibit 8) - “The lien search is done and the

                   lawyers are readying their closing schedule now. I have asked my attorney,

                   Richard Weinstein, to confirm their agrred [sic] closing time as soon as it is

                   settled and communicate the same to you.”

              i.   July 11, 2016 from Weinstein (Toms’ attorney) (Exhibit 9) - “The municipal

                   lien search is attached. We are ready to close once the lender is ready.”

              j.   July 14, 2016 from Weinstein (Exhibit 10) - “The lender has requested that

                   the land trust be revised to show a corporate trustee (rather than an

                   individual), so we are re-applying for HOA approval with that change.”

              k.   July 18, 2016 from Weinstein (Exhibit 11) - “The HOA will not approve the

                   land trust. The HOA will not allow a non-individual to be the trustee, and

                   the lender will not allow an individual to be a trustee. However, a new lender

                   has been found willing to fund the refinance and will allow the loan to close

                   in the owner's name; hence no trust is required. Since nearly all the pre-

                   closing work has been done, a quick closing is anticipated. The lender's rep

                   has advised it should close in about a week.”

              l.   July 28, 2016 from Toms (Exhibit 12) - “We are all but done. I will have firm

                   funding and closing dates late today or first thing in the am. Could we speak

                   tomorrow morning if you are around or we can e-mail if not?”

              m.   August 4, 2016 from Toms (Exhibit 13) - “The mortgage broker who has

                   been arranging the mortgage will have a firm closing date tomorrow




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                   morning. He tells me it is a matter of a few days. Could we give you that

                   tomorrow from our attorney, Mr. Weinstein?”

              n.   August 5, 2016 from Toms (Exhibit 14) - “It looks like next Wednesday or

                   Thursday, August 10 or 11, 2016. We are getting confirmation from the

                   lender now. I should have that shortly and will confirm back to everyone as

                   soon as we get it.”

              o.   August 10, 2016 from Toms (Exhibit 15) - “My apologies for not getting

                   back to you sooner. The lawyers are fixing the closing date today and will

                   confirm that to you as soon as they have agreed.”

              p.   August 12, 2016 from Toms (Exhibit 16) - “My apologies. The final walk

                   through by the lender, which is the last due diligence item, has been

                   scheduled for next Tuesday, August 16, after which they will close. By copy

                   of this I am asking Richard Weinstein to confirm closing and funding to you

                   directly.”

              q.   August 12, 2016 from Weinstein (Exhibit 17) - “Assuming there are no

                   problems with the walk-through, I understand the closing will take place the

                   latter part of next week. Please bear in mind that there is a mandatory 3-day

                   rescission period for the refinance of a primary residence before

                   funding. Saturday is counted as one of the three days. Please provide a new

                   payoff letter assuming a funding on Tuesday, August 23rd, with additional

                   per diem.”

              r.   August 23, 2016 from Weinstein (Exhibit 18) - “We were all set to close on

                   Friday, but the lender backed out at the last minute. We are resurrecting the

                   bridge loan we were working on before the refinance lender came on the


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                          scene and have also approached a "hard money" full refinance lender as well,

                          but we don't have anything concrete as of this minute. As you are aware, we

                          have been working very diligently to resolve the SEC's judgment, and we're

                          confident we'll get there, but we're not there yet.”

  C.      Toms’ Ability to Pay the Final Judgment

          14.     The records of the Palm Beach County Clerk indicate that Toms is a co-owner of

  real property located at 2350 Cherry Palm Road, Boca Raton (Palm Beach County), Florida 33432.

  These records indicate the following:

                  a.      By deed recorded on May 30, 2014 as CFN 20140200127, Book 26823, Page

                          1715, Nicholas Robert Toms and Caroline Mary Toms purchased this

                          property from Clifford Robert Muir for the stated consideration of

                          $3,550,000.

                  b.      There does not appear to be any mortgage or lien upon this property.

          15.     The records of the Palm Beach County Assessor indicate that as of January 1, 2015

  this property has a total assessed value of $2,944,145. These records also indicate that this property

  was built in 2014 and that the building has a total square footage of 9,490. It further indicates that

  the property is improved by a built-in barbeque, in-ground pool, and patio. A copy of the Palm

  Beach County Assessor records for this property is attached as Exhibit 19.

          16.     As of August 24, 2016, the amount due on the Final Judgment for disgorgement and

  prejudgment interest is $64,489.79 as ordered on April 29, together with postjudgment interest

  pursuant to 28 U.S.C. § 1961 at the rate of 0.54% in the amount of $111.54. Additional post-

  judgment interest continues to accrue on this amount at the rate of $0.95 a day.

          17.     At no time has Toms stated to me that he does not have the ability to pay the

  disgorgement and prejudgment interest due under the Final Judgment.


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         I declare under penalty of perjury that the foregoing is true and correct. Dated as New

  York, New York, August 24, 2016.

                                               /s/ John J. Graubard
                                               JOHN J. GRAUBARD
                                               Senior Trial Counsel
                                               S.D. Florida Bar No. A5501682




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